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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
                                                    § CASE NO. 6:17-CR-0002-RC
 v.                                                 §
                                                    §
                                                    §
 QUENTIN LEONTA BROWN (1)                           §
                                                    §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On May 30, 2017, this case came before the undersigned magistrate judge for entry of a

guilty plea by the Defendant, Quentin Leonta Brown, to Counts One and Nine of the Superseding

Indictment. Count One alleges that beginning in or about February, 2016, at a date unknown to

the Grand Jury, and continuing thereafter through the date of this indictment, in Gregg County,

Texas; and in Upshur County, Texas; in the Eastern District of Texas, and elsewhere, Quentin

Leonta Brown, also known as “Pooh,” and Saihaine Nijel Freeman, Defendants herein, did

knowingly and intentionally combine, conspire, confederate and agree together with each other

and with others known and unknown to the Grand Jury, to knowingly and intentionally possess

with intent to distribute 5 kilograms or more of a mixture or substance containing a detectable

amount of cocaine, and to knowingly and intentionally manufacture, distribute, and possess with

intent to distribute 28 grams or more of a mixture or substance containing a detectable amount of


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cocaine base, also known as crack cocaine, Schedule II controlled substances, in violation of the

laws of the United States, to wit, 21 U.S.C. § 841(a)(1) prohibiting possession with intent to

distribute and distribution of cocaine and cocaine base, both Schedule II controlled substances, all

in violation of 21 U.S.C. § 846 – Conspiracy to Distribute and Possess with Intent to Distribute

Cocaine and Cocaine Base, also known as Crack Cocaine. Count Nine alleges that on or about

January 19, 2017, in Upshur County, Texas, in the Eastern District of Texas, Quentin Leonta

Brown, also known as “Pooh,” Defendant herein, did knowingly and intentionally use, carry, and

possess firearms, to wit: CBC, model 715T, .22 caliber rifle, bearing serial number MYN128,

during, in relation to, and in furtherance of, a felony drug trafficking crime for which he may be

prosecuted in a court of the United States, that is, possession with intent to distribute cocaine and

cocaine base, Schedule II controlled substances, in violation of 21 U.S.C. § 841(a)(1), as alleged

in Count 8, all in violation of 18 U.S.C. § 924(c) – Use, Carrying, and Possession of a Firearm

During and in Furtherance of a Drug Trafficking Crime.

       The Defendant entered a plea of guilty to Counts One and Nine of the Superseding

Indictment into the record at the hearing. After conducting the proceeding in the form and manner

prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

       a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this case by a United States

Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the District Judge.

       b.      That the Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal. The

Defendant verified that he understood the terms of the plea agreement, and he acknowledged that



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it was his signature on the plea agreement.                    To the extent the plea agreement contains

recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

Defendant that he has no right to withdraw the plea if the court does not follow the particular

recommendations or requests. To the extent that any or all of the terms of the plea agreement are

pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that he will have the

opportunity to withdraw his plea of guilty should the court not follow those particular terms of

the plea agreement. 1

         c.       That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and that

the plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant

personally in open court, the undersigned determines that the Defendant’s plea is knowing and

voluntary and did not result from force, threats or promises (other than the promises set forth in

the plea agreement). See FED. R. CRIM. P. 11(b)(2).

         d.       That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes




1. “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the
judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846 and 18

U.S.C. § 924(c).

                                 STATEMENT OF REASONS

        As factual support for the Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis. In support, the Government would prove that the Defendant is the same

person charged in the Indictment, and that the events described in the Indictment occurred in the

Eastern District of Texas. The Government would also have proven, beyond a reasonable doubt,

each and every essential element of the offenses as alleged in Counts One and Nine of the

Superseding Indictment through the testimony of witnesses, including expert witnesses, and

admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer

of evidence described in detail in the factual basis filed in support of the plea agreement, and the

Defendant’s admissions made in open court in response to the undersigned’s further inquiry into

the factual basis.

        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering the guilty plea knowingly, freely

and voluntarily.

                              RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offenses charged in Counts One and Nine of the Superseding Indictment.



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Accordingly, it is further recommended that the Court finally adjudge the Defendant, Quentin

Leonta Brown, guilty of the charged offenses under 21 U.S.C. § 846, Conspiracy to Distribute and

Possess with Intent to Distribute Cocaine and Cocaine Base, also known as Crack Cocaine, and 18

U.S.C. § 924(c), Use, Carrying, and Possession of a Firearm During and in Furtherance of a Drug

Trafficking Crime.

       The Court should defer its decision to accept or reject the plea agreement until there has

been an opportunity to review the presentence report. If the plea agreement is rejected and the

Defendant still persists in his guilty plea, the disposition of the case may be less favorable to the

Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to

the United States Probation Department for the preparation of a presentence report. The Defendant

has the right to allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

to this report and recommendation. Objections to this report must: (1) be in writing, (2)

specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report, and (4) no

more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2);

Local Rule CV-72(c). A party who objects to this report is entitled to a de novo determination by

the United States District Judge of those proposed findings and recommendations to which a

specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District



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Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings

of fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



           So ORDERED and SIGNED this 30th day of May, 2017.




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